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IN THE UNITED sTATES DISTRICT COURT m BY - D-c-

FoR THE WESTERN DISTRICT oF TENNESSEE
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W 05 ’ !\,Si.?\;*P?iIS
KEVIN MILLEN,
Plaintiff,
vs. No. OB-ZOlO-Ml/V
JUVENILE COURT, et al.,

Defendants.

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ORDER DENYING MOTION FOR RECONSIDERATION
AND
SECOND ORDER DIRECTING PLAINTIFF TO PAY THE CIVIL FILING FEE

 

Plaintiff Kevin Millen filed a pro §§ complaint pursuant
to 42 U.S.C. § 1983 on January 6, 2005, along with a motion seeking
leave to proceed pp forma pauperis. As the Plaintiff’s motion to

proceed ip forma pauperis contained no information concerning his

 

monthly income, assets, and financial obligations, the Court issued
an order on. May ll, 2005, denying leave to proceed._;p _§p;mg
pauperis and directing the Plaintiff to pay the S150 Civil filing
fee within thirty days.

On May 24, 2005, Plaintiff filed another motion, entitled
“Order Asking for Leave to Use In Forma Pauperis And Order
Directing Defendants to Pay Monetary funds [sic] Owed to
Plaintiff,” which the Court Construes as a motion seeking
reconsideration of the decision denying leave to proceed pp fp;mg

pauperis. Nothing in the Plaintiff's motion provides any basis for

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W‘m RU'S 58 and/or 79(a) FHCP en /Z’lezet@|" °Q°m§an€€

 

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reconsidering the Court's previous order. In particular, the
Plaintiff's motion contains no financial information demonstrating
that the Plaintiff is unable to pay the civil filing fee or give
security therefor, as required by 28 U.S.C. § 1914. The other
factors cited by the Plaintiff, such as the time and effort he is
willing to put into the case and the uses to which he would put any
funds received in the event he prevails on the merits, are not
relevant to the question of Whether the Plaintiff is entitled to
proceed ip fp;mg pauperis.

Accordingly, the Court DENIES the Plaintiff’s motion for
reconsideration. This decision is final. If the civil filing fee is
not paid by August 5, 2005, this action will be dismissed, without

prejudice, for failure to prosecute.

IT IS SO ORDERED this iq day of July, 2005.

sic mw

JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-020]0 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

Kevin Millen
4104 Stillwood Dr.
i\/lemphis7 TN 38128

Honorable J on McCalla
US DISTRICT COURT

